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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,                    §
                                             §
                                             §
VS.                                          §    CRIMINAL ACTION NO. H-07-155
                                             §
MURAD ALMASRI,                               §

                                         ORDER

       The motion filed by the defendant, Murad Almasri, to require the Federal Detention

Center to allow visits from his infant son and his son’s mother, Shurouk Ismail, is denied at

this time. It does not appear that the defendant has sought relief through the administrative

procedures available at the FDC.

              SIGNED on August 27, 2007, at Houston, Texas.


                                       ______________________________________
                                                    Lee H. Rosenthal
                                               United States District Judge
